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DECLARATION OF PHILIP ISSA

I, Philip Issa, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct. ,

1. I make this declaration based on my own personal knowledge and if called to testify I
could and would do so competently and truthfully to these matters.

2. Iam an attorney with Americans for Immigrant Justice, (““AIJ”) a nonprofit law firm
based in Miami, Florida. AIJ serves members of Florida’s immigrant community through
a combination of direct representation, impact litigation, advocacy and outreach. As part
of its immigrants’ rights work, AIJ and its lawyers provide removal defense, asylum
assistance, and family-based immigration services. AIJ represents people held in carceral
and detention facilities due to their perceived or actual immigration status to advocate for
their fundamental constitutional and human rights.

3. Iam an attorney in good standing in the District of Columbia. I am admitted in the United
States Court of Appeals for the Eleventh Circuit. I specialize in the practice of
immigration law.

4. AIJ has received several calls from people who are detained at Alligator Alcatraz, or their
family members, requesting legal representation. Our program coordinator, Yanick
Laroche, attempted to locate these callers on ICE’s online detainee locator at
https://locator.ice.gov/odls/#/search, but none appeared in the database.

5. On July 11, 2025, I drove to Alligator Alcatraz to visit the people who called our
organization for legal services, review their documents, and consider accepting them for
representation. Pursuant to the ordinary course of business, I did not schedule my visit
beforehand. As an attorney, I have never been required to schedule an in-person visit with
a person detained in an ICE facility, either as their legal representative or as an attorney
providing a pre-representation consultation.

6. I arrived at Alligator Alcatraz at 10:30 a.m. Upon my arrival, I was stopped at the
checkpoint by Florida state officials, including police, Florida National Guard, Florida
Highway Patrol, Florida Department of Financial Services, and Florida Department of
Law Enforcement.

7. The checkpoint was situated on a two-lane road that connects the Tamiami Trail to the
Miami-Collier Training and Transition Airport. There is a patch of grass off to the side
where individuals are made to park and wait or to turn around.

8. I saw a few temporary barricades, a few unmarked law enforcement cars and pickup
trucks, a Humvee, a portable bathroom trailer, a couple tents, and possibly a trailer.
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9. I did not notice any families at the perimeter checkpoint where we were made to wait.
There were three other civilian vehicles there along with my own. A law enforcement
officer from the Department of Financial Services, standing at the checkpoint, said one
vehicle that had been waiting belonged to a postal worker, who I saw escorted past the
checkpoint to the base. I do not know who was in the other two vehicles. They both
turned around and left before | left.

10. The Department of Financial Services personnel were law enforcement officers and wore
department badges. They wore vests that read “POLICE”, and their badges said they were
from the Criminal Investigation Division. A Lieutenant from the Department of Financial
Services told me he is normally assigned to arson investigations. The two national
guardsmen present wore fatigues that said, “Florida National Guard.” There were
approximately five law enforcement officers and national guardsmen at the checkpoint.

11. While I waited for entry, there were lots of insects. A Department of Financial Services
officer offered me bug spray. It was approximately 90 degrees. I observed a couple fuel
trucks enter the perimeter, as well as some prefabricated trailers and solar panels.

12. After approximately thirty minutes, I was denied entry past the perimeter, which is not
within sight of the general facility. The Lieutenant provided me with an email address,
legal@privacy6.com, saying it was the way to request visits. I was not allowed to request
a visit on-site. I left the checkpoint area at approximately 11:00 am.

13. Our program coordinator, Ms. Laroche, promptly requested visits through the email
provided to me, that same morning. The emails immediately bounced back with the error

message “Undeliverable... Your message wasn’t delivered because the recipient’s email
provider rejected it.”

14. As a result of the lack of any policy or process for me to contact prospective clients
incarcerated at Alligator Alcatraz, AIJ is unable to represent these clients in their
immigration proceedings. AIJ is unable to carry out a core component of its public

interest mission to protect and defend the rights of immigrants, including those detained
in locked facilities.

Executed on July 16, 2025, at Fort Lauderdale, Florida.

Philip T. Issa, Esq.
